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      From:        Ali Frick <africk@kllflaw.com>
      To:          Weiss, Dara (Law) <daweiss@law.nyc.gov>, Jacobs, Elissa (Law) <ejacobs@law.nyc.gov>
      Cc:          Wood <wood@kllflaw.com>, Payne Litigation Team <paynelitigationteam@nyclu.org>,
                   Sierra Team <sierrateam@moskovitzlaw.com>, Sow-Legal <Sow-Legal@blhny.com>,
                   Andrew Stoll <astoll@stollglickman.com>
      Subject:     Omnibus follow up
      Date:        Tuesday, August 03, 2021 3:05 PM
      Size:        394 KB


      Dara,

      We write to follow up on the omnibus meet and confer we held last week, July 26. As we confirmed in our letter
      of July 27 (attached again for your reference), there were certain items that you were supposed to provide to
      us by last week, and a few more items you have promised to provide by tomorrow. We write to remind you of
      those items to make sure we can get them all, including the overdue information, this week.


              1. The City's position on the discoverability of logs matching SRG officers with helmet numbers, including
                 a full answer to the Yates document request on that topic.
              2. The City's position on providing an affidavit regarding collection, review, and production process of
                 Argus video, to support your assertion of burden.
              3. A date by which we will receive the BWC footage with Bate stamps.
              4. An answer on whether the City will produce full BWC audit logs from evidence.com
              5. Identification of the officers described in People's amended complaint.
              6. An answer whether the commanding officer for Washington Square Park and Union Square on
                 November 4, 2020 were the same.
              7. With respect to DI Edelman, the case law Elissa Jacobs referred to in the latest meet and confer.
              8. A further response to Interrogatory #14 (regarding MAPCs) covering 2006-2011
              9. Revised versions of the status/algorithm letters Defendants had previously marked confidential

      We hope and expect to receive this information this week.

      Thanks,
      Ali



      Ali Frick




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